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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


GEORGIA-PACIFIC CONSUMER
PRODUCTS LP,
FORT JAMES CORPORATION, and
GEORGIA-PACIFIC LLC,                                          Case No. 1:11-cv-00483

                                     Plaintiffs,              Hon. Robert J. Jonker

v.

NCR CORPORATION,
INTERNATIONAL PAPER CO.,
and WEYERHAEUSER CO.,

                                     Defendants.


             NCR CORPORATION AND GEORGIA-PACIFIC LLC
                       AGREED UPON STIPULATION
________________________________________________________________________


       NCR Corporation (“NCR”) and Georgia-Pacific Consumer Products LP, Fort James

Corporation, and Georgia-Pacific LLC (together “Georgia-Pacific”) stipulate to the entry of

an Order (i) approving a supersedeas bond in the amount of $25,639,582.30, which is equal to

125% of the total amount of the judgment ($19,826,752.67), prejudgment interest

($683,913.17) and estimated appeal costs ($1,000), and (ii) staying execution of the Court’s

June 19, 2018 Final Judgment against NCR effective immediately upon entry of said Order.

NCR intends to notice an appeal to the United States Court of Appeals of the Sixth Circuit on

July 16, 2018, a date within the time period for noticing such an appeal under Federal Rules

of Appellate Procedure 3. Georgia-Pacific reserves the right to seek an increase in the amount
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of the bond in the event the appeal is not resolved by July 16, 2020, and NCR reserves all

rights with respect to opposing such an increase.




July 2, 2018                                   /s/ Darin P. McAtee

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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


GEORGIA-PACIFIC CONSUMER
PRODUCTS LP,
FORT JAMES CORPORATION, and
GEORGIA-PACIFIC LLC,                                          Case No. 1:11-cv-00483

                                     Plaintiffs,              Hon. Robert J. Jonker

v.

NCR CORPORATION,
INTERNATIONAL PAPER CO.,
and WEYERHAEUSER CO.,

                                     Defendants.


    [PROPOSED] ORDER APPROVING SUPERSEDEAS BOND AND STAYING
         EXECUTION OF JUDGMENT AGAINST NCR CORPORATION
________________________________________________________________________


       Having considered the parties’ Stipulation,

       IT IS ORDERED that NCR Corporation’s supersedeas bond in the amount of

$25,639,582.30 is approved and execution of judgment against NCR Corporation is stayed

pending appeal to the United States Court of Appeals for the Sixth Circuit effective

immediately.

       IT IS SO ORDERED.




Dated: _______, 2018                         ______________________
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE
